           Case 1:17-cv-01169-VEC Document 19 Filed 11/15/17             Page 1 of 2
                                                                 USDC SDNY
                                                                 DOCUMENT
                                                                 ELECTRONICALLY FILED
                                                                 DOC #:
UNITED STATES DISTRICT COURT                                     DATE FILED: 11/15/2017
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
 JON TANNEN,                                                  :
                                                              :
                                              Plaintiff,      :
                                                              : 17-CV-1169 (VEC)
                            -against-                         :
                                                              :     ORDER
 CBS INTERACTIVE INC.,                                        :
                                                              :
                                                 Defendant.:
 ------------------------------------------------------------ X

VALERIE CAPRONI, United States District Judge:

       WHEREAS on November 15, 2017 (Dkt. 18), the parties reported to the Court that they

reached a settlement in principle to resolve this case fully;

       IT IS HEREBY ORDERED that the November 17, 2017 Pretrial Conference is

CANCELLED. All other deadlines in this matter are also cancelled.

       IT IS FURTHER ORDERED that this action will be dismissed without costs (including

attorneys’ fees) to either party on December 15, 2017, unless before that date one or more of the

parties files a letter with the Court requesting that the action not be dismissed and stating the

reasons why the Court should retain jurisdiction over this action in light of the parties’

settlement. To be clear, any request that the action not be dismissed must be filed on or before

December 15, 2017; any request filed thereafter may be denied solely on that basis.

       If the parties wish for the Court to retain jurisdiction over their settlement agreement, not

later than December 5, 2017, they must submit the settlement agreement to the Court in

accordance with Rule 5(A) of the Court’s Individual Practices in Civil Cases, along with a
          Case 1:17-cv-01169-VEC Document 19 Filed 11/15/17 Page 2 of 2



request that the Court issue an order expressly retaining jurisdiction to enforce their settlement

agreement. See Hendrickson v. United States, 791 F.3d 354 (2d Cir. 2015).

SO ORDERED.

                                                      _________________________________
                                                       _____________________  ___________
Date: November 15, 2017                               VALERIE
                                                       ALERIE CAPRONI
      New York, NY                                    United States District Judge




                                                  2
